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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


TEDROS TEKELE BERAKI


               Plaintiff,                                                   CIV 19-211 JB/GBW



NIELSEN et al.,

               Defendants.


                            ORDER OF REFERENCE RELATING TO
                                    PRISONER CASES


       In accordance with the provisions of 28 U.S.C. §§ 636(b)(1)(B), (b)(3), and Va. Beach

Fed. Sav. & Loan Ass’n v. Wood, 901 F.2d 849 (10th Cir. 1990), this case is referred to

Magistrate Judge Gregory B. Wormuth to conduct hearings, if warranted, including evidentiary

hearings, and to perform any legal analysis required to recommend to the Court an ultimate

disposition of the case. The Magistrate Judge will submit an analysis, including findings of fact,

if necessary, and recommended disposition, to the District Judge assigned to the case, with

copies provided to the parties. The parties will be given the opportunity to object to the proposed

findings, analysis, and disposition as described in 28 U.S.C. § 636(b)(1). Objections must be

filed within fourteen (14) days after being served with a copy of the proposed disposition.




                                             JAMES O. BROWNING
                                             UNITED STATES DISTRICT JUDGE
